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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MAIKER ALEJANDRO ESPINOZA
ESCALONA, et al.,

              Plaintiffs,

       v.                                          Civil Action No. 1:25-cv-00604-CJN

KRISTI NOEM, Secretary of the U.S.
Department of Homeland Security, et al.,

              Defendants.




                      DEFENDANTS’ MOTION TO DISMISS AND
                       MEMORANDUM IN SUPPORT THEREOF
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       By and through their undersigned counsel, Defendants respectfully move to dismiss this

action pursuant to Federal Rules of Civil Procedure (“Rules”) 12(b)(1) and 12(b)(6). Plaintiffs

filed a complaint for declaratory and injunctive relief and petition for a writ of habeas corpus,

seeking an order to prevent their potential transfer to the Naval Station Guantanamo Bay (NSGB).

Plaintiffs claim that that their detention at NSGB would be inconsistent with the Secretary of

Homeland Security’s detention authority under the Immigration and Nationality Act (INA) and

would result in Plaintiffs being subject to unconstitutional conditions of confinement. They assert

these challenges under the Administrative Procedure Act (APA), 5 U.S.C. § 706(2)(A); through a

writ of habeas corpus, 28 U.S.C. § 2241; and under the Fifth Amendment Due Process Clause.

ECF No. 1, Compl. at ¶¶ 64-80.

       The case should be dismissed. First, since the Complaint was filed, seven Plaintiffs are no

longer in U.S. custody, including one who was removed from the United States after a very brief

stay at NSGB, ECF 28, and as a result does not have any reasonable possibility of being subject to

the challenged policies, procedures, or conditions. Second, Plaintiffs who continue to be detained

in the United States lack standing to challenge their prospective detention at NSGB as they are

only two of the tens of thousands of immigration detainees in DHS custody and lack any reasonable

basis to claim they are at imminent risk of transfer to NSGB. Third, the INA precludes judicial

review of the government’s exercise of discretion to transfer an alien ordered removed to an

appropriate place of detention. Fourth, Plaintiffs fail to state a claim under the APA, as they only

attempt to challenge presidential orders, non-final actions, and matters subject to the Secretary’s

discretion. At most, Plaintiffs’ claims sound in habeas. Therefore, to the extent that any of the

claims survive a motion to dismiss, they should be severed into individual habeas cases and

transferred to the Plaintiffs’ respective jurisdictions of confinement.
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       But even if the Court were to consider these claims under an APA lens, Plaintiffs’ claims

nevertheless fail because: (1) the Secretary of Homeland Security has the authority to detain

individuals with final orders of removal in overseas U.S. Government facilities consistent with 8

U.S.C. §§ 1103(a)(3), 1225(b)(1)(B)(iii)(IV), 1231(a)(2) and (6), and 1231(g), as well as pursuant

to the President’s Memorandum, Expanding Migrant Operations Center at Naval Station

Guantanamo Bay to Full Capacity (Jan. 29, 2025); and (2) Defendants have strong rationales for

their decisions, thus defeating Plaintiffs’ arbitrary-and-capricious claims. Finally, Plaintiffs have

failed to state a substantive due process claim based on hypothetical claims fearing transfer and

Defendants have provided sufficient safeguards to ensure acceptable conditions of confinement.

       For all these reasons, the Court should dismiss this case in its entirety.

                                  FACTUAL BACKGROUND

       A. Legal Background. The Executive Branch has extensive constitutional authority in the

field of immigration, and Congress has further conferred broad statutory discretion over the

administration and enforcement of the nation’s immigration laws. United States ex rel. Knauff v.

Shaughnessy, 338 U.S. 537, 543 (1950); see, e.g., 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a)(3). Prior

to January 20, 2025,1 certain applicants for admission who were intercepted at entry or shortly

after unlawfully entering the United States could be subject to an expeditious process to remove

them from the United States under 8 U.S.C. § 1225(b)(1), as described herein. Under this process—

known as expedited removal—applicants for admission arriving in the United States or certain

other aliens (as designated by the Secretary of Homeland Security) who entered illegally and lack



1
 See Protecting the American People Against Invasion, https://www.whitehouse.gov/presidential-
actions/2025/01/protecting-the-american-people-against-invasion/ (Jan. 20, 2025).




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valid entry documentation or make material misrepresentations shall be “order[ed] . . . removed

from the United States without further hearing or review unless the alien indicates either an

intention to apply for asylum under [8 U.S.C. § 1158] or a fear of persecution.” 8 U.S.C.

§ 1225(b)(1)(A)(i); see 8 U.S.C. § 1182(a)(6)(C), (a)(7); see also Dep’t of Homeland Sec. v.

Thuraissigiam, 591 U.S. 103, 107-10 (2020) (discussing expedited removal); Am. Immigr.

Lawyers Ass’n v. Reno (AILA), 199 F.3d 1352, 1354-55 (D.C. Cir. 2000) (same). They remain

subject to an expedited removal order if they do not indicate an intent to apply for asylum or

express a fear of persecution, or if they are unable to show that such fear is credible. See 8 U.S.C.

§§ 1225(b)(1)(A)(ii), 1225(b)(1)(B)(v). Individuals subject to an expedited removal order can be

lawfully detained until they are removed from the United States. 8 U.S.C. § 1225(b)(1)(B)(iii)(IV).

Individuals subject to an expedited removal order have very limited due process rights with respect

to their admission to the United States. See Thuraissigiam, 591 U.S. at 138-40. If the applicant

for admission indicates a fear of return and the asylum officer determines that the applicant has a

credible fear, the officer will issue a Notice to Appear, placing the applicant in removal

proceedings under 8 U.S.C. § 1229a. 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. § 208.30(f). These

removal proceedings provide more extensive procedures than expedited removal, compare 8

U.S.C. § 1229a with § 1225(b)(1), including a right to appeal to the Board of Immigration Appeals

(Board) and petition for review by a federal appellate court. 8 U.S.C. § 1252(a)(1). An applicant

for admission who demonstrates a credible fear “shall be detained for further consideration of the

application for asylum.”2 8 U.S.C. § 1225(b)(1)(B)(ii); Jennings v. Rodriguez, 583 U.S. 281, 297


2
  The only exception to § 1225(b)(1)’s detention mandate is found in 8 U.S.C. § 1182(d)(5)(A),
which allows DHS to parole applicants for admission into the United States for “urgent
humanitarian reasons or significant public benefit.” See Jennings v. Rodriguez, 583 U.S. 281, 300
(2018) (holding the existence of § 1182(d)(5)(A)’s “express exception to detention implies that
there are no other circumstances under which aliens detained under § 1225(b) may be released”).


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(2018) (“Read most naturally, §§ 1225(b)(1) and (b)(2) . . . mandate detention of applicants for

admission until certain proceedings have concluded.”).

       For anyone with a final order of removal entered following removal proceedings held under

8 U.S.C. § 1229a, Congress has authorized detention under 8 U.S.C. § 1231(a) while the

government works to execute the removal order. See 8 U.S.C. § 1231(a)(2). Section 1231(a)(6), as

interpreted by the Supreme Court in Zadvydas v. Davis, 533 U.S. 678, 699-701 (2001), limits post-

final-order detention to the period reasonably necessary to accomplish removal. 533 U.S. at 701.

The Court determined that six months is a presumptively reasonable period of time to allow the

government to complete removal after the removal period has commenced. Id. at 701.

       Once the six-month period has run, and “the alien provides good reason to believe that

there is no significant likelihood of removal in the reasonably foreseeable future, [then] the

Government must respond with evidence sufficient to rebut that showing.” Id. “This 6–month

presumption, of course, does not mean that every alien not removed must be released after six

months. To the contrary, an alien may be held in confinement until it has been determined that

there is no significant likelihood of removal in the reasonably foreseeable future.” Id. at 701. In

making this assessment, the Supreme Court has counseled immigration habeas courts to apply

“[o]rdinary principles of judicial review” in order to “give expert agencies decisionmaking leeway

in matters that invoke their expertise” and “recognize [the] Executive Branch[’s] primacy in

foreign policy matters.” Id. at 700 (citing Pension Ben. Guaranty Corp. v. LTV Corp., 496 U.S.

633, 651-52 (1990); Container Corp. of America v. Franchise Tax Bd., 463 U.S. 159, 196 (1983)).

Specifically, the Supreme Court instructed habeas courts to “listen with care when the

Government’s foreign policy judgments, including, for example, the status of repatriation




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negotiations, are at issue, and to grant the Government appropriate leeway when its judgments rest

upon foreign policy expertise.” Zadvydas, 533 U.S. at 700.

       B. Factual Background. On January 29, 2025, the President issued a Memorandum

ordering DHS and the Department of Defense (DoD) to take all necessary steps to expand the

Migrant Operations Center (MOC) in NSGB to allow for the housing of “high-priority criminal

aliens unlawfully present in the United States.” Compl. at ¶ 32. DoD acted swiftly to comply with

the President’s Order by creating the Joint Task Force Southern Guard (JTF-SG) to work with

DHS to operationalize the Memorandum. ECF No. 14-1, Declaration of Lieutenant Colonel Robert

Green (“Green Decl.”) at ¶¶ 2-3.

       The detainees are housed in two areas of the base, with the higher-threat immigration

detainees housed in Camp VI and the lower-threat detainees housed at the MOC. Green Decl. at

¶¶ 3-4, 16-17; see also Compl. at ¶ 39. DHS has developed procedures applicable to immigration

detainees at NSGB, and DoD is following and supporting DHS procedures. See ECF No. 14-2,

Declaration of Deputy Field Office Director Juan Lopez Vega (“Lopez Vega Decl.”) at ¶¶ 9-38;

Green Decl. at ¶¶ 3, 6-10, 12-13, 18-19, 21-31. Defendants are providing immigration detainees

access to counsel, the opportunity to make calls to family and friends, communal living, recreation

time, nutrition, and medical care, and are handling searches and behavioral issues consistent with

the Departments’ practices. Lopez Vega Decl. at ¶¶ 9-38; Green Decl. at ¶¶ 5-6, 8, 10, 13, 19, 22.

                                     LEGAL STANDARD

       Under Federal Rule of Civil Procedure (“Rule”) 12(b)(1), a plaintiff bears the burden of

establishing jurisdiction by a preponderance of the evidence. See Lujan v. Defs. of Wildlife, 504

U.S. 555, 561 (1992). A court considering a Rule 12(b)(1) motion must “‘construe the complaint

liberally, granting plaintiff the benefit of all inferences that can be derived from the facts

alleged[.]’” Am. Nat’l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (quoting Thomas


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v. Principi, 394 F.3d 970, 972 (D.C. Cir. 2005)). A court may examine materials outside the

pleadings as it deems appropriate to resolve the question of its jurisdiction. See Herbert v. Nat’l

Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992).

        Under Rule 12(b)(6), the Court may dismiss a Complaint where a plaintiff fails to state a

claim upon which relief can be granted. To survive a Rule 12(b)(6) motion, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). When resolving a Rule 12(b)(6) motion to dismiss, the pleadings are construed

broadly where all facts pleaded therein are accepted as true and inferences are viewed in a light

most favorable to the plaintiff. Nat'l Postal Prof'l Nurses v. U.S. Postal Serv., 461 F. Supp. 2d 24,

27 (D.D.C. 2006) (Friedman, J.). However, a court is not required to accept conclusory allegations

or unwarranted factual deductions as true. Iqbal, 556 U.S. at 678. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

Likewise, a court need not “accept as true a legal conclusion couched as a factual allegation.”

Papasan v. Allain, 478 U.S. 265, 286 (1986). Ultimately, the focus is on the language in the

complaint and whether that sets forth sufficient factual allegations to support a plaintiff’s claims

for relief.




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                                          ARGUMENT

I.     Plaintiffs’ Claims are not Justiciable.

       Plaintiffs’ claims are not justiciable because (1) seven of the Plaintiffs have been removed

from the United States and their claims are now moot; and (2) those detained in the United States

do not have standing to assert claims challenging their hypothetical transfer to NSGB.3

       A. Seven Plaintiffs’ claims are moot as they are no longer in U.S. custody.

       Seven Plaintiffs, including Maiker Alejandro Espinoza Escalona who was transferred to

NSGB and departed the following night to his country of removal, are no longer in U.S. custody.

See Exh. B, Declaration of Assistant Field Office Director Patrick Morin (“Morin Decl.) at ¶ 7-8.4

Accordingly, because these individuals have been removed and are thus no longer in U.S. custody,

the Court should dismiss them from this action as their claims are moot. See Gul v. Obama, 652

F.3d 12, 15 (D.C. Cir. 2011) (affirming the district court’s decision finding that the petitioner’s

habeas claims were moot once they were no longer in U.S. custody); see also Abdullah v. Trump,

No. 25-5002, 2025 WL 914093 at *1 (D.C. Cir. Mar. 24, 2025) (affirming Gul’s holding in finding



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   Additionally, one Plaintiff—Janfrank Berrios Laguna—has been released on an Order of
Supervision; thus, his claim is both moot and unripe. Morin Decl. at ¶ 6. Plaintiff Berrios Laguna
is no longer in U.S. custody and therefore has no valid challenge to the legality of his detention.
See 28 U.S.C. § 2241(c)(1) (“The writ of habeas corpus shall not extend to a prisoner unless—He
is in custody under or by color of the authority of the United States.”). His claim is even more
attenuated and speculative than the detained Plaintiffs’ claims. Thus, he similarly lacks an
imminent injury and cannot establish causation. See Pharm. Rsch. & Manufacturers of Am. v.
HHS, 656 F. Supp. 3d 137, 150 (D.D.C. 2023); Am. Fed’n of Gov’t Emps., AFL-CIO v. United
States, 104 F. Supp. 2d 58, 63 (D.D.C. 2000) (citing Nat’l Mar. Union of Am. v. Commander, Mil.
Sealift Command, 824 F.2d 1228 (D.C.Cir.1987)).
4
  As of this filing, the following Plaintiffs have been removed pursuant to final removal orders to
their respective countries of origin and are no longer in U.S. custody: Maiker Alejandro Espinoza
Escalona, Jackson Manuel Villa Wilheim, Jorge Alberto Castillo Cerrano, Alejandro Jose Pulido
Castellano, Walter Estiver Salazar, Ghulam Muhammad, and MD Rayhan. Compare Compl. with
Morin Decl. at ¶ 7-8. For the reasons discussed in this section, the seven aforementioned Plaintiffs
should be dismissed from this action.


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“Appellant's habeas case has been mooted by his transfer to the custody of a foreign sovereign.”).

Mootness is “the doctrine of standing set in a time frame.” Friends of the Earth, Inc. v. Laidlaw

Envtl. Servs., Inc., 528 U.S. 167, 189 (2000) (quoting Arizonans for Official English v. Ariz., 520

U.S. 43, 68 n. 22 (1997)). To present a live case or controversy to avoid dismissal on mootness

grounds, the plaintiff “must continue to have a ‘personal stake in the outcome’ of the lawsuit.”

Lewis v. Cont'l. Bank Corp., 494 U.S. 472, 478 (1990).

       Here, simply put, the removed Plaintiffs’ claims are moot because they are no longer in

U.S. custody or subject to detention at NSGB. See Gul, 652 F.3d at 21 (finding that “[a]lthough

the appellants made the necessary showing when they filed their petitions—for they were then

detained at Guantanamo and so alleged—once they left U.S. custody that [requisite jurisdictional]

showing no longer sufficed” and finding there is no presumption of “continuing injury” and that

“the burden of demonstrating jurisdiction is properly borne by the [individual].”). The relief that

these Plaintiffs sought through the Complaint is, generally, to enjoin Defendants from transferring

them to and detaining them at NSGB, as well as ordering the return of individuals who had already

been transferred to NSGB. See Compl. ¶¶ 82-85. Now that the Plaintiff has been removed to their

respective designated country of removal and are not in U.S. custody, they have no injury that can

be remedied with the relief sought in the Complaint.

       Nor can they maintain this suit under the collateral consequences doctrine. Under this

doctrine, where a former detainee has been removed, they must make an actual showing that the

previously challenged detention continues to burden the individual with “concrete injuries.” Gul,

652 F.3d at 17. As the D.C. Circuit noted in Gul, potential immigration consequences that flow

from removal but themselves are not challenged in the operative suit cannot be concrete injuries

ameliorated by an order granting relief. Id. at 19. The same holds true here where Plaintiffs are not




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challenging their immigration proceedings, but rather, exclusively their speculated, prospective

detention at NSGB. Indeed, Plaintiffs concede they do “not challenge the government’s authority

to . . . remove [them] to [their] home country or another statutorily authorized country” in this

action. Compl. ¶ 2.

        Accordingly, the removed Plaintiffs’ claims are moot, they do not allege collateral

consequences of their removal, and therefore, they should be dismissed from this action.

        B. Plaintiffs currently detained in the United States lack standing to bring this suit.

        The remaining Plaintiffs—Hiran Malik and Josue De Jesus Torcati Sebrian—are currently

detained in the United States—in Arizona and Texas respectively—who lack standing to bring this

suit and should be dismissed accordingly. Morin Decl. at ¶ 5. Article III of the U.S. Constitution

limits the jurisdiction of federal courts to “cases” and “controversies.” U.S. Const. art. III, § 2.

“One element of the case-or-controversy requirement is that [Plaintiffs] must establish that they

have standing to sue.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013) (cleaned up). “To

seek injunctive relief, a plaintiff must show that he is under threat of suffering “injury in fact” that

is concrete and particularized; the threat must be actual and imminent, not conjectural or

hypothetical; it must be fairly traceable to the challenged action of the defendant; and it must be

likely that a favorable judicial decision will prevent or redress the injury.” Summers v. Earth Island

Inst., 555 U.S. 488, 493 (2009).

        In particular, “[t]o establish Article III standing, an injury must be concrete, particularized,

and actual or imminent,” Clapper, 568 U.S. at 409 (quotations omitted), at the time the action is

filed. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 569 n.4 (1992) (citing Newman–Green, Inc. v.

Alfonzo–Larrain, 490 U.S. 826, 830 (1989)). The injury must demonstrate that the individual

“suffered an invasion of a legally protected interest” that is not “conjectural or hypothetical.”

Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (internal quotations omitted). Here, Plaintiffs fail


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to establish a requisite injury in fact. Plaintiffs’ claimed “injuries” here are (1) the very type of

hypothetical and conjectural claims that the Supreme Court has cautioned against and (2) neither

actual nor imminent. See id.

        The remaining Plaintiffs allege two primary “layers” of speculative, future injuries (from

which additional injuries allegedly flow). First, they allege that they will be transferred to NSGB.

Compl. at ¶¶ 1,7. Second, Plaintiffs suggest that upon transfer to NSGB, their rights will be

violated. See id. at ¶¶ 2, 8-9. Neither of these conjectural layers qualify as “actual” or “imminent”

injury. Clapper, 568 U.S. at 409. Plaintiffs thus lack Article III standing.

            1. Lack of concrete and particularized injury.

        An injury in fact must be “concrete and particularized.” See Spokeo, Inc., 578 U.S. at 339.

“For an injury to be particularized, it must affect the Plaintiff in a personal and individual way.”

Id. (internal quotations omitted). “A concrete injury must be de facto; that is, it must actually

exist.” Id. at 340 (internal quotations omitted). Under this analysis, Plaintiffs cannot demonstrate

an actual injury, and Plaintiffs have effectively admitted as much. See Compl. at ¶¶ 1, 7 (noting

“fear of imminent transfers to [NSGB]”); See Exh. A, Tr. Hr’g TRO, p.14 (Mar. 14, 2025) (“THE

COURT: What is the imminent irreparable harm for the plaintiffs in this case? MR. GELERNT:

Yeah. Again, we don’t know that these individuals, the minute we walk out of court, will not be at

Guantanamo.”).]”). These Plaintiffs have not been transferred to NSGB. See Compl. at ¶¶ 1-7;

Morin Decl. at ¶ 5-6, 8. As a result, Plaintiffs’ alleged injury arising from their hypothetical transfer

to and confinement at NSGB does not “actually exist” and cannot be “concrete” for that very

reason. See Spokeo, Inc., 578 U.S. at 340. Neither can their claimed injury be “particularized”

since the remaining Plaintiffs have not been, and, presently, cannot, be affected in a personal and

individual way by the legality of a transfer to NSGB or the conditions in that facility. See id. at

339. Simply put, neither the existence of immigration detention at NSGB nor the conditions there


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has yet affected these particular Plaintiffs in a single concrete way. And the prospect that it might

is simply the sort of “conjectural or hypothetical” injury that the Supreme Court has held does not

establish standing. Summers, 555 U.S. at 493.

       These Plaintiffs are, therefore, unable to show an actual injury that is concrete and

particularized. See id. 339–40; Vote Forward v. DeJoy, No. CV 20-2405 (EGS), 2021 WL

1978805, at *23 (D.D.C. May 18, 2021) (“Standing to seek . . . forward-looking injunctive relief

requires [Plaintiffs] to show that [they are] suffering an ongoing injury.” (emphasis added) (citing

Narragansett Indian Tribal Historic Pres. Off. v. FERC, 949 F.3d 8, 13 (D.C. Cir. 2020))).

           2. Lack of imminent injury.

       Where, as here, a party is alleging future injuries, the “burden to establish standing [] is

‘significantly more rigorous.’” Pharm. Rsch. & Manufacturers of Am. v. Dep’t of Health & Hum.

Servs., 656 F. Supp. 3d 137, 150 (D.D.C. 2023) (quoting Chamber of Com. of U.S. v. E.P.A., 642

F.3d 192, 200 (D.C. Cir. 2011)). To demonstrate a cognizable future injury, Plaintiffs must show

that (1) the “‘threatened injury’ is ‘certainly impending,’ rather than merely ‘possible,’” id. (citing

Clapper, 568 U.S. at 409), or (2) that “there is a substantial risk that the harm will occur.” Id.

(citing Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)). Plaintiffs cannot make either

showing for the same reason: their alleged injuries are far too speculative to be cognizable. Put

differently, Plaintiffs have not shown there is a “substantial risk” that they will be transferred to

NSGB and subjected to violations of their rights there. See id. Neither have Plaintiffs shown that

transfer to NSGB and abuses there are “certainly impending.” See id. None of the facts alleged are

sufficient to permit the Court to find that Plaintiffs allege an imminent injury.

       Plaintiffs’ claim of imminent injury is belied by the sheer number of detainees who have

been repatriated (i.e., removed or returned, including pursuant to a legal authority such as 8 U.S.C.

§ 1182(f)) without ever transiting through NSGB. That number, which in 2024 ranged from 47,490


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to 74,360 monthly repatriations, simply dwarfs the small number of detainees who have been

transferred to NSGB since the Memorandum was issued more than three months ago. Office of

Homeland Security Statistics, Immigration Enforcement and Legal Processes Monthly Tables,

https://ohss.dhs.gov/topics/immigration/immigration-enforcement/immigration-enforcement-

and-legal-processes-monthly (last updated Jan. 16, 2025); Lopez Vega Decl. at ¶¶ 7, 8. Plaintiffs

may argue that the reference group should be more limited because the majority of them are

Venezuelan nationals. See generally Compl. at ¶¶ 38 (noting that all individuals in the “first wave”

of NSGB transfers were Venezuelan nationals). But three of the named Plaintiffs are not

Venezuelan and instead hail from different parts of the world. Compl. ¶¶ 20–22 (identifying

Plaintiffs of Afghan, Pakistani, and Bangladeshi nationality). Further, Defendants have housed

detainees from more than 27 countries. Lopez Vega Decl. at ¶ 8.

       Plaintiffs are unable to point to anything in the Memorandum that would suggest the

government has plans to route Venezuelan detainees exclusively or even primarily through NSGB,

or even at a materially higher rate than other detainees over a sustained period of time. See

generally Compl. Instead, they are simply projecting that all future transfers to NSGB will be

similar to the first wave without offering any evidence to support their assumption. In any case,

even if Plaintiffs were to base their estimation of the likelihood of being transferred to NSGB using

strictly Venezuelan cases as a baseline, they would still be hard-pressed to show that their transfer

is “certainly impending to constitute injury in fact.” Whitmore v. Arkansas, 495 U.S. 149, 158

(1990). Indeed, the government has completed removals to Venezuela from the United States,

including the 190 Venezuelans who were removed from El Paso on February 10, 2025. Las

Americas v. Noam, No. 25-cv-418, at ECF No. 14-1 (Agudelo Declaration) at ¶ 11.




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       In the end, this case is much like City of Los Angeles v. Lyons, 461 U.S. 95 (1983), Clapper,

and Summers. In each case, the plaintiffs identified some factors that might elevate the possibility

that they would be exposed to the conduct at issue (chokeholds, wire taps, or encountering logged

forests). Clapper, 568 U.S. at 409; Summers, 555 U.S. at 493; Lyons, 461 U.S. at 106. But in each

case, that potential injury still was neither likely nor imminent and insufficient to support standing.

Clapper, 568 U.S. at 410-11 (“[R]espondents merely speculate and make assumptions about

whether their communications with their foreign contacts will be acquired.”); Summers, 555 U.S.

at 496 (“Accepting an intention to visit the national forests as adequate to confer standing to

challenge any Government action affecting any portion of those forests would be tantamount to

eliminating the requirement of concrete, particularized injury in fact.”); Lyons, 461 U.S. at 105

(“That Lyons may have been illegally choked by the police . . . does nothing to establish a real

and immediate threat that he would again be stopped for a traffic violation, or for any other offense,

by an officer or officers who would illegally choke him into unconsciousness without any

provocation or resistance on his part.”). So too here. Because Plaintiffs’ injury cannot possibly be

“actual or imminent” or “certainly impending.” See Clapper, 568 U.S. at 409 (emphasis in

original). Plaintiffs’ “allegations of possible future injury are not sufficient,” and thus fail to show

injury in fact. See id. (emphasis in original) (internal quotations omitted).

           3. Lack of causation and redressability.

       “Because Plaintiffs fail to plausibly allege an injury in fact, the Court need not address

causation or redressability.” Weissman v. Nat’l R.R. Passenger Corp., No. 20-CV-28 (TJK), 2020

WL 4432251, at *2 n.1 (D.D.C. July 31, 2020), aff’d, 21 F.4th 854 (D.C. Cir. 2021).

       Nonetheless, had they plausibly alleged an injury in fact, in arguendo, they are unable to

demonstrate a “causal connection between the injury and the conduct complained of.” See Lujan,

504 U.S. at 560. Nine of the ten named Plaintiffs were not transferred to NSGB. See Compl. at


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¶¶1, 7; Morin Decl. at ¶5-8. Thus, to arrive at this prong, the Court must—at minimum—assume

that Plaintiffs will (1) be imminently transferred to NSGB and (2) be subject to a violation of their

rights there. But that is exactly why this prong fails. This Court has held that Plaintiffs “will be

found to lack standing if the court must accept speculative inferences and assumptions in order to

connect the alleged injury with the challenged action.” Am. Fed’n of Gov’t Emps., AFL-CIO

(AFGE) v. United States, 104 F. Supp. 2d 58, 63 (D.D.C. 2000) (citing Nat’l Mar. Union of Am.

v. Commander, Mil. Sealift Command, 824 F.2d 1228 (D.C.Cir.1987)). Because the Court would

need to accept “speculative inferences and assumptions” to connect Plaintiffs’ alleged injury to the

challenged action, Plaintiffs should “be found to lack standing.” See id. Plaintiffs fail to show

causation. The Court should thus dismiss.

       Finally, assuming that the remaining Plaintiffs satisfied the first two prongs of standing,

they cannot show that it is “likely, as opposed to merely speculative, that the injury will be

redressed by a favorable decision.” Lujan, 504 U.S. at 561 (internal quotations omitted). This is

because Plaintiffs cannot satisfy redressability when a court is unable to grant the relief requested.

See Rangel v. Boehner, 20 F. Supp. 3d 148, 164, 175–76 (D.D.C. 2013), aff’d, 785 F.3d 19 (D.C.

Cir. 2015) (finding the plaintiff was not able to show redressability where the court could not grant

the requested relief because it involved a political question); Russell v. Harman Int’l Indus., Inc.,

945 F. Supp. 2d 68, 80 (D.D.C. 2013), aff’d, 773 F.3d 253 (D.C. Cir. 2014) (finding the plaintiff

lacked standing because the court could not grant to plaintiff—who waived his right to recover

relief—any relief to redress the alleged injuries).

       Plaintiffs request, among other things, that the Court enjoin Defendants from exercising

their authority to transfer individuals to and from NSGB. The Court lacks jurisdiction to do so and

is, therefore, unable to grant the requested relief. As explained in Section III, infra, enjoining




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Defendants from transferring individuals to and from NSGB necessarily interferes with the express

authority accorded to the President and his officers to manage the removal process, and violates

multiple provisions of 8 U.S.C. § 1252. Thus, even if Plaintiffs could show an injury in fact, the

Court could not grant any relief that would redress such injury. Thus, Plaintiffs cannot show

redressability here.

        In sum, the remaining Plaintiffs’ alleged injuries are far too speculative to sustain an injury

in fact for the purposes of Article III standing. And even if these Plaintiffs—who are either in U.S.

custody (but not detained at NSGB) or released subject to an Order of Supervision—could

demonstrate a cognizable injury, the assumptions that the Court must make to connect the alleged

injury with the challenged action proves fatal to any chance Plaintiffs have of successfully showing

causation. See AFGE, 104 F. Supp. 2d at 63 (citing Nat’l Mar. Union of Am., 824 F.2d 1228).

Finally, because the Court is statutorily precluded from providing the injunctive relief that the

remaining Plaintiffs desire, it is unable to redress the injuries they claim. These Plaintiffs lack the

requisite standing to obtain the relief they seek. Accordingly, the Court should deny their Motion

and dismiss this action in its entirety.

II.     The Court Lacks Jurisdiction to Review the Government’s Exercise of Discretion to
        Transfer an Alien Ordered Removed to an Appropriate Place of Detention.

        The Court lacks jurisdiction to grant equitable relief regarding Plaintiffs’ removal orders.

The jurisdiction of the federal courts is presumptively limited. Kokkonen v. Guardian Life Ins. Co.

of Am., 511 U.S. 375, 377 (1994). They “possess only that power authorized by Constitution and

statute, which is not to be expanded by judicial decree.” Kokkonen, 511 U.S. at 377 (citations

omitted); see also Sheldon v. Sill, 49 U.S. 441, 449 (1850) (“Courts created by statute can have no

jurisdiction but such as the statute confers.”). The Immigration and Nationality Act deprives this

Court of jurisdiction over Plaintiffs’ APA claims for two independent reasons.



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       First, 8 U.S.C. § 1252(g) deprives the Court of jurisdiction to review claims arising from

any decision or action to “execute removal orders.” See Jennings v. Rodriguez, 583 U.S. 281,

292‑95 (plurality) (concluding the district court lacked jurisdiction over a challenge to a “decision

to . . . seek removal”). Congress spoke clearly, providing that “no court” has jurisdiction over “any

cause or claim” arising from the execution of removal orders, “notwithstanding any other provision

of law,” whether “statutory or nonstatutory,” including habeas, mandamus, or the All Writs Act. 8

U.S.C. § 1252(g). By its terms, this jurisdiction-stripping provision precludes habeas review under

28 U.S.C. § 2241, as well as review under the APA, of claims arising from a decision or action to

“execute” a final order of removal. See Reno v. Am.-Arab Anti-Discrimination Comm. (AAADC),

525 U.S. 471, 482 (1990); cf. United States v. Texas, 599 U.S. 670, 680 (2023) (“In light of

inevitable resource constraints and regularly changing public-safety and public-welfare needs, the

Executive Branch must balance many factors when devising arrest and prosecution polices. That

complicated balancing process in turn leaves courts without meaningful standards for assessing

those policies.”). The discretionary determination to transfer a detainee to an appropriate place of

detention as part of a removal effort pursuant to the government’s authority under 8 U.S.C. §

1231(g) is just such an unreviewable “action” taken to execute a final removal order. See AAADC,

525 U.S. at 485 (noting that § 1252(g) “seems clearly designed to give some measure of protection

to ‘no deferred action’ decisions and similar discretionary determinations, providing that if they

are reviewable at all, they at least will not be made the base for separate rounds of judicial

intervention outside the streamlined process that Congress has designed”); Guangzu Zheng v.

Decker, No 14-cv-4663-MHD, 2014 WL 7190993, at *16 (S.D.N.Y. Dec. 12, 2014) (holding that

§ 1231(g) transfer authority “is among the [Secretary of Homeland Security’s] discretionary

powers” (internal quotation marks omitted)); Jacquet v. Hodgson, No. CIV.A. 03-11568RWZ,




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2003 WL 22290360, at *1 (D. Mass. Oct. 6, 2003) (holding that a court is “without power to

prevent transfer of a plaintiff” because the “[Secretary of Homeland Security] shall arrange for

appropriate places of detention” under § 1231(g), and “no court shall have jurisdiction” under

§ 1252(g) “to hear any cause or claim” arising from the discretion granted to the Secretary).

       Second, 8 U.S.C. § 1252(a)(2)(B)(ii) similarly strips the Court of jurisdiction to grant

Plaintiffs’ request, where it bars review of “any other decision or action of the [Executive] the

authority for which is specified under this subchapter to be in the discretion of the [Executive].” 8

U.S.C. § 1252(a)(2)(B)(ii). Here, the Executive’s authority under § 1231(g) to decide the location

of detention for individuals detained pending removal falls within the scope of the review bar in

§ 1252(a)(2)(B)(ii). That is because, under § 1231(g), DHS “necessarily has the authority to

determine the location of detention of an alien in deportation proceedings,” including to transfer

detainees from one detention site to another. Gandarillas-Zambrana v. Bd. Immigr. Appeals, 44

F.3d 1251, 1256 (4th Cir. 1995). The Executive’s broad discretion to determine appropriate places

of detention pending removal has repeatedly been recognized by federal courts after careful review

of § 1231(g). See, e.g., Van Dinh v. Reno, 197 F.3d 427, 433 (10th Cir. 1999); Wood v. United

States, 175 F. App’x 419, 420 (2d Cir. 2006) (holding that the Secretary “was not required to detain

[Plaintiff] in a particular state” given the Secretary’s “statutory discretion” under § 1231(g)).

III.   Plaintiffs’ Fail to State a Claim Under the APA.

       A.      There has been no final agency action.

       Plaintiffs fail to identify any final agency action to support their APA claims. The APA

limits judicial review to “final agency action for which there is no other adequate remedy in a

court.” 5 U.S.C. § 704. Although the requirement of finality is not jurisdictional, without final

agency action, “there is no doubt that [a plaintiff] would lack a cause of action under the APA.”

Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 731 (D.C. Cir.


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2003); Flytenow, Inc. v. F.A.A., 808 F.3d 882, 888 (D.C. Cir. 2015). Agency actions are final if

two independent conditions are met: (1) the action “mark[s] the consummation of the agency’s

decisionmaking process” and is not “of a merely tentative or interlocutory nature;” and (2) it is an

action “by which rights or obligations have been determined, or from which legal consequences

will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (internal quotation marks omitted).

       To the extent Plaintiffs challenge the “implementation” of the President’s operational

directives in the Memorandum, that is not a discrete, identifiable “agency action” subject to

challenge. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 890-91 (1990) (holding that a plaintiff

cannot challenge “the continuing (and thus constantly changing) operations” of the agency in

carrying out a program, but must instead “direct its attack against some particular ‘agency action’

that causes it harm”). The Supreme Court was clear that the APA precludes challenges to “the

entirety” of an administrative program, whereby plaintiffs seek “wholesale improvement” of an

agency’s operations “by court decree”—“rather than in the offices of [agencies] or the halls of

Congress, where programmatic improvements are normally made.” Id. at 891. “Removal

decisions”—including the considerations that go into determining where an alien under a removal

order is detained, transferred, or removed—“implicate our relations with foreign powers and

require consideration of changing political and economic circumstances.” Jama v. Immigr. &

Customs Enf’t, 543 U.S. 335, 348 (2005) (internal quotation marks omitted). Accordingly, courts

should decline to hear any challenge that would interfere with the complex, delicate, and

considered process by which removal decisions are made in light of the particularized facts within

the agency’s command.

       Nor is the implementation of the President’s memorandum—even if it were a discrete

agency action—“final” so as to be reviewable under the APA. 5 U.S.C. § 704. Although Plaintiffs’




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removal orders are final actions, any challenge to those decisions are limited to “a petition for

review filed with an appropriate court of appeals.” See 8 U.S.C. § 1252(a)(5). Thus, the individual

determinations Plaintiffs purportedly fear the agency might make are to transfer them to

appropriate detention facilities as part of the execution of their final removal orders. But those

operational determinations have not happened and, even when they do, they do not trigger the

“legal consequences” of the removal efforts nor mark the “consummation” of the removal process.

Instead, any legal consequences are the direct outcome of the removal order itself, and at this point

nothing appears to hold back the execution of those orders other than “potential individualized

determinations that [they] cannot be removed to specific countries.” Padilla-Ramirez v. Bible, 882

F.3d 826, 833 (9th Cir. 2017); see generally 8 U.S.C. § 1231(b) (setting out countries to which

aliens may be removed); 8 U.S.C. § 1231(a)(1)(A); see id. § 1231(a)(1)(B)(i) (providing that the

removal period generally begins on the “date the order of removal becomes administratively

final”). Furthermore, the use of a particular detention site as a temporary staging point en route to

completing a removal to a designated country is purely an operational choice made entirely in the

agency’s discretion and attendant to the determinative final removal order, and is not a final agency

action subject to any court’s review. See 8 U.S.C. § 1231(g).

       Similarly, any claims about the conditions of confinement at NSGB are not based on any

identifiable final agency action. See Vetcher v. Sessions, 316 F. Supp. 3d 70, 79 (D.D.C. 2018)

(dismissing conditions of confinement claims as failing to challenge a final agency action).

Although in some jurisdictions Plaintiffs may be able to challenge conditions of confinement

through a writ of habeas corpus, Plaintiffs are not detained in this jurisdiction Jeong Seon Han v.

Lynch, 223 F. Supp. 3d 95, 99 (D.D.C. 2016) (citing 28 U.S.C. § 2241(a)), and, at most, speculate

of future transfer to NSGB, Isenbarger v. Farmer, 463 F. Supp. 2d 13, 22 n.4 (D.D.C. 2006) (citing




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Lujan, 504 U.S. at 560-61), neither of which is sufficient to confer habeas jurisdiction to this Court.

Therefore, Plaintiffs must plead a valid APA claim in order to maintain their challenge in this

court. Id. at 78 (holding the jurisdiction of confinement is “the only circuit under which [the

detainee] may bring a habeas petition”). Accordingly, the Court should deny the motion on the

basis that Plaintiffs have not identified a final agency action to support their APA claims.5 See id.

at 78-79.

       B.      Transfer and removal decisions are committed to agency discretion by law.

       Even if APA review was generally available for residential actions, it would not be

available here. The APA does not permit review of actions “committed to agency discretion by

law.” 5 U.S.C. § 701(a)(2). Thus, even if Plaintiffs could credibly argue that the delegation of

responsibility contained in the President’s internal memorandum is an agency action, it would still

be barred from review, where the execution of removal orders is a process over which the

Executive Branch enjoys largely unfettered discretionary control.

       “A principal feature of the removal system is the broad discretion exercised by immigration

officials.” Arizona v. United States, 567 U.S. 387, 396 (2012); see id. at 409 (holding that decisions

“touch[ing] on foreign relations . . . must be made with one voice”); Mathews v. Diaz, 426 U.S.



5
 Although Plaintiffs bring APA claims, the basis for Plaintiffs’ challenge is not of final agency
action, but rather agency inaction. Accordingly, the requirement of the local rules to produce an
administrative record with the filing of this dispositive motion does not apply. See LCvR 7(n)
(requirement applies “[i]n cases involving the judicial review of administrative agency actions”)
(emphasis added); Dallas Safari Club v. Bernhardt, 518 F. Supp. 3d 535, 539-40 (D.D.C. 2021)
(Mehta, J.) (noting the two flavors of APA review—review of agency action and agency
inaction—concluding both are considered on an administrative, not discovery record, on summary
judgment). Moreover, the production of an administrative record at this stage is unnecessary—the
United States seeks to dismiss this case not based on an administrative record but instead based on
the facts alleged in the complaint and the present status of the individual Plaintiffs’ detention. See
Nat’l Law Ctr. on Homelessness & Poverty v. Dep’t of Veterans Affs., 842 F. Supp. 2d 127, 130
(D.D.C. 2012) (Lamberth, J.) (noting that often “if an agency fails to act, there is no ‘administrative
record’ for a federal court to review” (internal citation omitted)).


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67, 81 (1976) (removal decisions “are frequently of a character more appropriate to either the

Legislature or the Executive than to the Judiciary”). Indeed, “any policy toward aliens is vitally

and intricately interwoven with contemporaneous policies in regard to the conduct of foreign

relations, the war power, and the maintenance of a republican form of government.” Harisiades v.

Shaughnessy, 342 U.S. 580, 588–89 (1952) (emphasis added). Here, decisions made to transfer

immigration detainees to NSGB are grounded in the President’s “broad power over the creation

and administration of the immigration system,” which necessarily includes discretion to determine

where individuals will be detained to execute their removal orders. Kerry v. Din, 576 U.S. 86, 106

(2015) (Kennedy, J., concurring in judgment).

       The Executive’s discretionary authority to administer the removal process is further

reinforced by the statute that governs judicial review of removal orders—8 U.S.C. § 1252, as well

as § 1231(g), which gives the Secretary of Homeland Security6 broad latitude to “arrange for

appropriate places of detention for aliens detained pending removal or a decision on removal.”

See AAADC, 525 U.S. at 486. Indeed, in interpreting § 1231(g), courts throughout the country

have recognized that determinations regarding the location of confinement for individuals subject

to removal orders are within the discretion of the Executive Branch. See, e.g., Van Dinh, 197 F.3d

at 433; Edison C. F. v. Decker, No. 20-cv-15455-SRC, 2021 WL 1997386, at *6 (D.N.J. May 19,

2021) (“Congress has provided the Government with considerable discretion in determining where



6
  Although the statute and regulations refer to the “Attorney General,” these references should, in
light of the Homeland Security Act of 2002, be read as references to the Secretary of Homeland
Security. See Homeland Security Act § 471, 6 U.S.C. § 291 (abolishing the former Immigration
and Naturalization Service); id. § 441, 6 U.S.C. § 251 (transferring immigration enforcement
functions from the Department of Justice to the Department of Homeland Security); 8 U.S.C. §
1103(a)(1) (“The Secretary of Homeland Security shall be charged with the administration and
enforcement of this chapter and all other laws relating to the immigration and naturalization of
aliens . . . .”).


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to detain aliens pending removal or the outcome of removal proceedings.” (citing § 1231(g)(1))).

To the extent a stay of a transfer (particularly one not even shown to be imminent) would interfere

with that discretion to arrange for the detention of individuals who are subject to final removal

orders—and who do not otherwise challenge the legitimacy of those removal orders, see 8 U.S.C.

§ 1252(a)(5)—the APA provides no basis for judicial review.

       The APA also does not permit judicial review in cases where statute precludes it. 5 U.S.C.

§ 701(a)(1). As discussed below, 8 U.S.C. § 1252 plainly bars review of discretionary agency

actions, actions taken to remove an individual, or actions to execute a removal order. 8 U.S.C.

§§ 1252(a)(2)(B)(ii), (b)(9), (g). The statute allows for review in certain specified circumstances

and subject to specified limitations and prerequisites. See, e.g., 8 U.S.C. §§ 1252(a)(5), (b)(9), (e).

None of those provisions, however, apply to Plaintiffs’ APA claims here, which seek to constrict

how the Executive can exercise its broad powers under § 1231(g) and otherwise thwart its ability

to promptly execute final removal orders. Section 701(a)(1) thus bars APA review here as well.

       C.      The Secretary has statutory authority to transfer and detain immigration
               detainees at NSGB.

       Even if their APA claims were cognizable, Plaintiffs have failed to establish that it would

be unlawful to detain them at NSGB. As a result, their statutory claims fail. Plaintiffs are lawfully

in the custody of the Secretary as individuals subject to final orders of removal. See Compl. at ¶¶

13-22. Sections 1231(a)(2) and (6) and 1225(b)(1)(B)(iii)(IV) authorize the Secretary to detain

individuals who are, respectively, subject to final orders of removal and expedited removal orders.

The Secretary’s authority under these provisions begins upon entry of the removal order and

extends until the Secretary relinquishes custody of the detainee. See 8 U.S.C. §§ 1231(a)(2) and

(6), 1225(b)(1)(B)(iii)(IV). Detention authority under § 1231(a)(6) is limited to the amount of time

reasonably necessary to execute the removal order and will terminate if (after six months) “the



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alien provides good reason to believe that there is no significant likelihood of removal in the

reasonably foreseeable future.” Zadvydas, 533 U.S. at 701. In addition to having authority to detain

individuals subject to final orders of removal, the Secretary also has broad statutory authority to

“arrange for appropriate places of detention for aliens pending removal” at “United States

Government facilities,” 8 U.S.C § 1231(g), and to “perform such other acts as [she] deems

necessary for carrying out [her] authority” under the INA, 8 U.S.C § 1103(a).

       Sections 1231(a)(2) and (6) and 1225(b)(1)(B)(iii)(IV) afford the Secretary extraterritorial

authority to manage international removal operations. Congress understands that the execution of

removal orders typically requires the Secretary—by definition—to exercise extraterritorial

authority. See, e.g., 8 U.S.C. § 1231(e)(3)(A) (specifying funding source for costs associated with

removal); 8 U.S.C. § 1231(f) (authorizing caregiver travel for removal trip); U.S. Immigration and

Customs Enforcement Budget Overview 2023 at 169 (Congress allocated more than $400 million

per year for Immigration and Customs Enforcement’s (ICE) Transportation and Removal Program,

a program with a mission that includes providing “transportation to the noncitizen’s final

destination.”).7 The overwhelming majority of removals carried out under sections 1231 and 1225

are escorted removals—that is, removals where ICE officers maintain custody of the individual

who are being removed from the United States and transport them to their country of removal.

DHS OIG Report, OIG-19-28, ICE Faces Barriers in Timely Repatriation of Detained Aliens, at

11 (Mar. 2019) (approximately 84,000 of the 90,000 removals in fiscal year 2017 were escorted

removals).




7
              Available       at         https://www.dhs.gov/sites/default/files/2022-
03/U.S.%20Immigration%20and%20Customs%20Enforcement_Remediated.pdf (last visited
Mar. 3, 2025).


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       Section 1231(g) also affords the Secretary more narrow extraterritorial authority to select

appropriate places for removal to include any “United States Government facilities.” 8 U.S.C.

§ 1231(g); see also RJR Nabisco, Inc. v. European Cmty., 579 U.S. 325, 340 (2016) (holding that

“an express statement of extraterritoriality is not essential,” and “‘context can be consulted as

well,’” to establish the extraterritorial effect of a statute). NSGB is just such a “United States

Government facility.” Indeed, this Court, in considering a different federal statute, has previously

defined “federal facility” to mean “a building or part thereof owned or leased by the Federal

Government, where Federal employees are regularly present for the purpose of performing their

official duties”—the definition encompassing both “diplomatic missions” and “component

structures of military bases.” United States v. Al-Imam, 373 F. Supp. 3d 247, 264 (D.D.C. 2019)

(citing 18 U.S.C. § 930(g)). In line with the meaning of “federal facility,” the Court in that case

found the federal statute applied extraterritorially where the law had “foreseeable extraterritorial

applications.” Id.

       Along with § 1231(g), § 1103(a)(3)’s sweeping grant of authority for the Secretary to take

any action “deemed necessary” to the exercise of her other statutory authorities is also naturally

read as conferring extraterritorial authority when exercised in support of her extraterritorial

removal responsibilities. Cf. Sale v. Haitian Centers Council, Inc., 509 U.S. 155, 171 (1993)

(assuming 8 U.S.C. § 1103(a)(1) applies extraterritorially but finding exercise to be within section

1103(a)(1)’s exception).

       Therefore, §§ 1103(a)(3), 1225(b)(1)(B)(iii)(IV),1231(a)(2) and (6), and 1231(g) together

confer broad extraterritorial authority for ICE to carry out Congress’s removal mandate. The

Secretary has the authority to detain individuals subject to final orders of removal in U.S.

government facilities as part of an ongoing removal operation. For individuals detained under




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§ 1231(a)(6), that authority extends only so long as removal remains significantly likely to occur

in the reasonably foreseeable future. The immigration detainees at NSGB fall squarely within this

authority: they are subject to final orders of removal, have been taken to NSGB as part of the

government’s efforts to facilitate their removals, and can be held for only so long as their removal

remains significantly likely to occur in the reasonably foreseeable future.

       Plaintiffs argue that the government lacks the authority to transfer and detain them at

NSGB because the base is outside of the United States for purposes of the INA. Compl. at ¶¶ 68-

69 (citing 8 U.S.C. § 1101(a)(38)). Defendants acknowledge NSGB’s status for purposes of the

INA. However, the cited provisions overcome any presumption against extraterritorial

application—which does not apply here given the inherent nature of removal operations. Sale, 509

U.S. at 173. Removal operations are inherently extraterritorial missions and therefore necessarily

require the Secretary to exercise detention authority outside of the U.S. See Tr. Hr’g TRO, p. 24

(Plaintiffs conceding “[o]bviously the removal statutes apply extraterritorially. That’s inherent.”)

As noted above, many of ICE’s removal operations are conducted by ICE transporting the detainee

to their country of removal. As a result, ICE routinely exercises its §§ 1231 and 1225 detention

authority outside of the United States. Plaintiffs’ contrary arguments simply set aside the reality

of how removal operations have operated for decades. Section 1103(a)(3) works in conjunction

with these provisions to give the Secretary all necessary authority to conduct the removal operation

in her preferred manner, including to plan the removal mission and arrange for appropriate staging

points to support that mission. Indeed, it would lead to an impossible situation if the government’s

broad powers under the INA were held to instantly terminate upon the detainee’s flight leaving

U.S airspace but before ICE relinquishes control. Detainees placed on ICE-operated removal

missions must remain subject to ICE custody until ICE relinquishes custody. See 8 U.S.C. §




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1231(b) (setting out the categories of countries to which aliens may be removed). None of that

would be possible unless DHS’s authority to execute removal operations has an extraterritorial

component.

       Plaintiffs next argue that the immigration detainees at NSGB have been improperly

removed to Cuba, see generally Compl. at ¶ 65 (claiming “Cuba is not a proper removal destination

for Plaintiffs”), assuming that removal occurs as soon as the individual leaves the United States

without regard to whether he continues to be in the Secretary’s custody or has reached his country

of removal. Plaintiffs’ theory is not supported by law or common sense for two reasons.

       First, although NSGB is not in the United States for purposes of the INA, 8 U.S.C.

§ 1101(a)(38), the United States “exercises complete jurisdiction and control” over the naval

station. Boumediene v. Bush, 553 U.S. 723, 753-55 (2008) (finding “the United States, by virtue

of its complete jurisdiction and control over the base, maintains de facto sovereignty over this

territory”). There is no Cuban government presence at NSGB and no way for Cuban authorities to

exercise any control over the detainees. While they may have physically departed the United States

and transited through NSGB, DHS has not completed the removal mission and has certainly not

surrendered them to the control of the Cuban government.

       Second, Plaintiffs ignore that “removal” as contemplated by the INA is a legal term of art

that refers to a circumscribed, multi-step process that often involves detention, transfer, and travel.

Matter of G-N-C, 22 I. & N. Dec. 281, 296-97 (BIA 1998) (“’Removal’” is a term of art that was

coined in the enactment of the IIRIRA”); cf. United States v. Argueta-Rosales, 819 F.3d 1149,

1155 (9th Cir. 2016) (noting that under the INA, “enter” can have “a narrower meaning than its

colloquial usage). Just as a detainee who, while being escorted, has a layover en route to their final

destination is not removed “to” that location, the immigration detainees have not been removed to




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NSGB. Conversely, by Plaintiffs’ logic, if a removal flight in route to Romania were to make an

overnight refueling stop in Germany, DHS would be compelled to release the detainees in

Germany as the agency would lack authority to continue the removal operation to the final

destination after having already “removed” the detainees “to” Germany. But that has never been

the law and makes little sense as a practical matter. Here, the term “removal” as it is used in section

1231(a)(6) is not intended as a limitation or termination point on the Secretary’s detention

authority. See 8 U.S.C. § 1231(a)(6) (“An alien . . . may be detained beyond the removal period”).

Therefore, Plaintiffs’ narrow understanding of the term “removal” should not have any impact on

the Secretary’s authority to detain through to completion of the multi-step removal process.

       Just as an alien “on the threshold” of entry when he is detained after arriving at a United

States port, an alien detained in the process of being removed to the country designated in his

removal order is “on the threshold” of removal—in both cases, physical presence or location is not

allowed to dictate the individual’s legal status or situation. Thuraissigiam, 591 U.S. at 140; 8 U.S.C

§ 1231(b)(2); cf. De Leon v. Holder, 761 F.3d 336, 338 (4th Cir. 2014) (holding that “entry” into

the United States for immigration purposes requires “freedom from official restraint,” which is

present when “the alien who is attempting entry is no[t] under constraint emanating from the

government that would otherwise prevent [him] from physically passing on”); Kaplan v. Tod, 267

U.S. 228, 230 (1925) (entrant was “in theory of law at the boundary line and had gained no foothold

in the United States” even after committed to the custody of aid society). Indeed, the removal

process is not complete until the individual reaches the final destination. See E.O.H.C. v. Sec’y

United States Dep’t of Homeland Sec., 950 F.3d 177, 184 (3d Cir. 2020) (citing Lin Zhong v. DOJ,

480 F.3d 104, 108 n.3 (2d Cir. 2007).




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       Here, the government has not relinquished custody of the detainees and has explicitly stated

that the removal operation is ongoing. Therefore, the Secretary’s detention authority continues to

exist as it pertains to immigrant detainees with final removal orders in transit but in custody of the

United States.

       D.        Defendants did not act arbitrarily or capriciously in the implementation of
                 the Presidential Memorandum.

       Plaintiffs also fail to state an arbitrary or capricious APA claim. First, Plaintiffs argue that

Defendants’ actions are inconsistent with the Memorandum because detainees are being held at

Camp VI and Plaintiffs allege some of the detainees at NSGB are low-risk. Compl. at ¶ 73.

Plaintiffs’ argument incorrectly assumes that Defendants’ authority to hold immigration detainees

is based solely on the Memorandum. But, as discussed above, the Secretary has broad discretion

to take the same actions by statute, both independent of and consistent with, the Memorandum.

See supra Argument III. Moreover, absent one who was briefly staged there but has now departed

to his country of removal, none of the remaining Plaintiffs are presently held at NSGB and have

no basis to speculate whether they will be held at Camp VI. See supra Argument II.

       Second, Plaintiffs argue Defendants’ failure to explain the reasons for transferring

immigration detainees to NSGB is arbitrary and capricious. Compl. at ¶ 72. As explained above,

see supra Argument III, Defendants have wide discretion to detain individuals with final orders of

removal, to plan and carry out removal missions, and to select appropriate places of detention.

Plaintiffs have not identified any instance in which a Court required the government to justify

using a particular detention facility or its removal path.

       To the extent the APA calls for further justification, Defendants have explained that they

are using NSGB due to limited detention capacity available elsewhere, making it desirable to add

the capacity already available at NSGB to accomplish the President’s priority of completing the



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removal of individuals with final orders of removal. Lopez Vega Decl. at ¶¶ 5, 6. Utilizing unused

detention capacity is rational response to limited resources and not arbitrary and capricious.

Plaintiffs’ policy-laden disagreements with Defendants’ reasons for transferring detainees to

NSGB alone do not warrant them relief under the APA.

IV.     To the Extent Plaintiffs Have Any Cognizable Claims, the District Court for the
        District of Columbia is not the Proper Venue.

        As demonstrated above, Plaintiffs fail to shoehorn their claims into ones reviewable under

the APA. At best, Plaintiffs have pled habeas claims that, if they survive dismissal, would need to

be severed and transferred to other jurisdictions. Accordingly, these claims do not confer upon this

Court authority to enter temporary relief both because the Court lacks jurisdiction over the claims

and Plaintiffs are unable to show that they are likely to prevail in this Court.

        The two Plaintiffs detained under U.S. custody have never been held in this district.

Plaintiffs Malik and Torcati Sebrian are detained at facilities in Arizona and Texas respectively.

As the Supreme Court and D.C. Circuit have consistently recognized, any habeas claims must be

brought against the custodians of those facilities (the “immediate custodian rule”) and in the

venues in which the custodians reside (the “habeas venue rule”). See Trump v. J. G. G., 145 S. Ct.

1003, 1005-06 (2025) (citing Rumsfeld v. Padilla, 542 U.S. 426, 443 (2004)) (For “‘core habeas

petitions,’ ‘jurisdiction lies in only one district: the district of confinement.’”); Dufur v. U.S. Parole

Comm’n, 34 F.4th 1090, 1097 (D.C. Cir. 2022); Vetcher, 316 F. Supp. 3d at 78 (identifying the

district of confinement as the only appropriate venue for a habeas petition); see also Braden v.

30th Jud. Cir. Ct. of Kentucky, 410 U.S. 484, 494-95 (1973) (“The writ of habeas corpus does not

act upon the prisoner who seeks relief, but upon the person who holds him in what is alleged to be




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unlawful custody.”); Chatman–Bey v. Thornburgh, 864 F.2d 804, 810 (D.C. Cir. 1988).8 The

Supreme Court recently reinforced this principle in J.G.G., where they held that “[r]egardless of

whether the detainees formally request release from confinement, because their claims for relief

‘necessarily imply the invalidity’ of their confinement and removal under the [cited authority],

their claims fall within the “core” of the writ of habeas corpus and thus must be brought in habeas.”

145 S. Ct. at 1005 (cleaned up). Thus, unless Plaintiffs are transferred within the authority of this

district, this case should be dismissed for lack of venue. See 28 U.S.C. § 1406(a); see also

Mendoza-Linares v. Garland, 51 F.4th 1146, 1157 (9th Cir. 2022) (dismissing challenge to

expedited removal order in part for failing to follow the requirement under Federal Rule of

Appellate Procedure 22 to file in the district of confinement).

       Because Plaintiffs’ claims, to the extent any remain following a motion to dismiss, will

need to be severed and transferred as individual habeas petitions to other federal district courts,

this Court lacks jurisdiction and should dismiss this action.

V.     Plaintiffs Fail to Plausibly Allege a Substantive Due Process Claim.

       The Supreme Court has repeatedly held that civil immigration detention is lawful exercise

of executive authority. See, e.g., Demore v. Kim, 538 U.S. 510, 531 (2003) (“Detention during

removal proceedings is a constitutionally permissible part of that process.”); Carlson v. Landon,

342 U.S. 524, 538 (1952) (“Detention is necessarily a part of this deportation procedure.”); Wong

Wing v. United States, 163 U.S. 228, 235 (1896) (“We think it clear that detention or temporary

confinement, as part of the means necessary to give effect to the provisions for the exclusion or

expulsion of aliens, would be valid.”); see also Reno v. Flores, 507 U.S. 292, 294-95 (1993)


8
 For Plaintiff Sebrian, the proper venue would be in the U.S. District Court for the Western District
of Texas, Austin Division. And for Plaintiff Malik, his habeas claim should be brought in the U.S.
District Court for the District of Arizona, Phoenix Division.


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(concluding the executive has “broad discretion to determine whether, and on what terms” an

individual can be detained or released pending deportation). Applied here, the government has

amply supported its basis for detaining individuals with final orders of removal at NSGB.

       Ordinarily, when it is alleged that a detainee in immigration detention has been deprived

of liberty without due process, “the dispositive inquiry is whether the challenged condition,

practice, or policy constitutes punishment.” S. Poverty L. Ctr. v. U.S. Dep’t of Homeland Sec., No.

CV 18-760 (CKK), 2020 WL 3265533, at *18 (D.D.C. June 17, 2020) (quoting Block v.

Rutherford, 468 U.S. 576, 583 (1984)). To prevail on such a claim, the detainee must establish

either a “subjective intent to punish” or “that a restriction is unreasonable or excessive relative to

the Government’s proffered justification.” Americans for Immigrant Just. v. U.S. Dep’t of

Homeland Sec., No. CV 22-3118 (CKK), 2023 WL 1438376, at *11 (D.D.C. Feb. 1, 2023); Doe

v. Kelly, 878 F.3d 710, 714 (9th Cir. 2017). Plaintiffs attempt to meet that standard by asserting

that the conditions at NSGB are sub-par, Compl. at ¶ 77, but the Constitution “does not mandate

comfortable” detention facilities. Rhodes v. Chapman, 452 U.S. 337, 345-50 (1981). Detention

may be subject to conditions that relate to legitimate non-punitive governmental objectives, such

as “maintain[ing] security and order at the institution and mak[ing] certain no weapons or illicit

drugs reach detainees” without raising constitutional concerns. Bell v. Wolfish, 441 U.S. 520, 540

(1979). If the detainee can establish that his conditions of confinement are equal to or worse than

conditions experienced by inmates convicted of a criminal offense, the burden shifts to the

government to establish that the conditions are “rationally related to a non-punitive purpose and .

. . not excessive.” Americans for Immigrant Just., 2023 WL 1438376, at *12.

       However, here, we are only faced with vague and undefined claims of sub-par conditions

of confinement that none of the Plaintiffs assert that they have been subject to. See generally




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Compl. ¶ 77. That Plaintiffs would ever be exposed to such conditions is thus entirely speculative

and hence Plaintiffs lack Article III standing to challenge such hypothesized conditions. See supra

Argument II.

       Further, given the speculative nature of their claims, Plaintiffs also fail to cite any relevant

case law to show how courts should evaluate such a claim. Assuming Plaintiffs have standing and

are able to bring such a claim under the APA, the relevant legal inquiry should be directed to the

procedures in place at the challenged facility, rather than on allegations by non-parties. As detailed

in previously submitted declarations and summarized below, Defendants have core procedures in

place to ensure detainees’ needs are appropriately met while detained at NSGB. See generally

Lopez Vega Decl.; Green Decl.

        Immigration detainees are housed in a communal living setting, and are afforded daily

recreation time, three daily meals, and access to medical care. Lopez Vega Decl. at ¶¶ 21, 26, 27,

28, 33, 36; Green Decl. at ¶¶ 4, 8, 10. Immigration detainees have access to counsel, the ability to

make and receive unmonitored calls to their lawyers, and the ability to make and receive calls to

obtain representation. Lopez Vega Decl. at ¶¶ 1-15, 17-18, 31, 37-38; Green Decl. at ¶ 22.

Detainees have the opportunity to make short calls to family and friends. Lopez Vega Decl. at ¶¶

20, 31, 38; Green Decl. at ¶ 22. They are subject to searches and behavior correction in a manner

not inconsistent with the Departments’ practices. Lopez Vega Decl. at ¶ 23; Green Decl. at ¶¶ 23-

28. These procedures offer sufficient safeguards and eliminate any basis for enjoining transfer

based on conditions allegations. In light of those policies, it is entirely speculative that Plaintiffs

would be exposed to unconstitutional conditions and Plaintiffs have failed to establish Article III

standing to challenge such postulated conditions.




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                                     CONCLUSION

       For the foregoing reasons, the Court should dismiss this action. A proposed order is

enclosed herewith.

 Dated: May 19, 2025                       Respectfully submitted,
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